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SUPREME COURT OF THE STATE OF NEW YORK
ALLEGANY COUNTY
                                                                        Case No. 2:22-cv-02219-RMG
----------------------------------------------------------------------X
VILLAGE OF CUBA
                                                                        Index No. _________/2022
                  Plaintiff,
                                                                        COMPLAINT AND DEMAND
-against -                                                              FOR JURY TRIAL

THE 3M COMPANY, f/k/a Minnesota Mining and                                Trial by jury is desired in the
Manufacturing Co., AGC CHEMICALS AMERICAS INC.,                           County of Allegany
AMEREX CORPORATION, ARKEMA INC.,
ARCHROMA U.S. INC., BASF CORPORATION,                                     Venue is designated pursuant to
individually and as successor in interest to Ciba Inc.,                   CPLR § 503(a) & (c) in that the
BUCKEYE FIRE EQUIPMENT COMPANY, CARRIER                                   causes of action occurred in this
GLOBAL CORPORATION, CHEMDESIGN PRODUCTS                                   county.
INC., CHEMGUARD INC. CHEMICALS, INC.,
CLARIANT CORPORATION, individually and as
successor in interest to Sandoz Chemical Corporation,
CORTEVA, INC., individually and as successor in interest
to DuPont Chemical Solutions Enterprise, DEEPWATER
CHEMICALS, INC., DUPONT DE NEMOURS INC.,
individually and as successor in interest to DuPont
Chemical Solutions Enterprise, DYNAX CORPORATION,
E. I. DUPONT DE NEMOURS AND COMPANY,
individually and as successor in interest to DuPont
Chemical Solutions Enterprise, KIDDE-FENWAL, INC.,
individually and as successor in interest to Kidde Fire
Fighting, Inc., NATION FORD CHEMICAL COMPANY,
NATIONAL FOAM, INC., THE CHEMOURS
COMPANY, individually and as successor in interest to
DuPont Chemical Solutions Enterprise, THE CHEMOURS
COMPANY FC, LLC, individually and as successor in
interest to DuPont Chemical Solutions Enterprise, and
TYCO FIRE PRODUCTS, LP, individually and as
successor in interest to The Ansul Company, and DOE
DEFENDANTS 1-20, fictitious names whose present
identities are unknown,


                   Defendants.
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                       COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiff, Village of Cuba, New York (“Plaintiff” or “VOC”), by and through its

undersigned counsel, hereby files this Complaint against Defendants, 3M COMPANY, f/k/a

Minnesota Mining and Manufacturing Co., AGC CHEMICALS AMERICAS INC., AMEREX

CORPORATION, ARKEMA INC., ARCHROMA U.S. INC., BASF CORPORATION,

BUCKEYE FIRE EQUIPMENT COMPANY, CARRIER GLOBAL CORPORATION,

CHEMDESIGN PRODUCTS INC., CHEMGUARD INC., CHEMICALS, INC., CLARIANT

CORPORATION, CORTEVA, INC., DEEPWATER CHEMICALS, INC., DUPONT DE

NEMOURS INC., DYNAX CORPORATION, E. I. DUPONT DE NEMOURS AND

COMPANY, KIDDE-FENWAL, INC., NATION FORD CHEMICAL COMPANY, NATIONAL

FOAM, INC., THE CHEMOURS COMPANY, THE CHEMOURS COMPANY FC, LLC, and

TYCO FIRE PRODUCTS, LP, and DOE DEFENDANTS 1-20, fictitious names whose present

identifies are unknown (collectively “Defendants”) and alleges, upon information and belief, as

follows:

                                         INTRODUCTION

           1.    This action arises from the foreseeable contamination of groundwater by the use of

aqueous film-forming foam (“AFFF”) products that contained per- and poly-fluoroalkyl

substances (“PFAS”), including perfluorooctane sulfonate (“PFOS”) and perfluorooctanoic acid

(“PFOA”).

           2.    PFOS and PFOA are fluorosurfactants that repel oil, grease, and water. PFOS,

PFOA, and/or their chemical precursors, are or were components of AFFF products, which are

firefighting suppressant agents used in training and firefighting activities for fighting Class B fires.

Class B fires include fires involving hydrocarbon fuels such as petroleum or other flammable

liquids.
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       3.      PFOS and PFOA are mobile, persist indefinitely in the environment, bioaccumulate

in individual organisms and humans, and biomagnify up the food chain. PFOS and PFOA are also

associated with multiple and significant adverse health effects in humans, including but not limited

to kidney cancer, testicular cancer, high cholesterol, thyroid disease, ulcerative colitis, and

pregnancy-induced hypertension.

       4.      At various times from the 1960s through today, Defendants designed,

manufactured, marketed, distributed, and/or sold AFFF products containing PFOS, PFOA, and/or

their chemical precursors, and/or designed, manufactured, marketed, distributed, and/or sold the

fluorosurfactants and/or perfluorinated chemicals (“PFCs”) contained in AFFF (collectively,

“AFFF/Component Products”).

       5.      Defendants    designed,    manufactured,    marketed,    distributed,   and/or   sold

AFFF/Component Products with the knowledge that these toxic compounds would be released

into the environment during fire protection, training, and response activities, even when used as

directed and intended by Defendants.

       6.      Since its creation in the 1960s, AFFF designed, manufactured, marketed,

distributed, and/or sold by Defendants, and/or that contained fluorosurfactants and/or PFCs

designed, manufactured, marketed, distributed, and/or sold by Defendants, used as directed and

intended by Defendants, and subsequently released into the environment during fire protection,

training, and response activities, resulting in widespread PFAS contamination.

       7.      Plaintiff Village of Cuba (“VOC”) is located in Allegany County and its principal

place of business is located at 17 East Main Street Cuba, New York, 14727.




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       8.      The VOC owns and operates its public water system which delivers drinking water

to the residents. The VOC water system is comprised of one water storage tank, the water

distribution system and two water supply wells: Bi-Centennial Well and Champlain Well.

       9.      As of August 2020, the New York State Department of Health established an MCL

of 10 parts per trillion (ppt) each for PFOA and PFOS in public drinking water supplies.

       10.     On February 16, 2021, Plaintiff performed PFAS testing in its water supply system.

PFAS contamination was detected in the Bi-Centennial Well, where PFOS concentration levels

reached a level of 2.6 ppt.

       11.     In response to this detection, Plaintiff has continued to test its water supply system

for PFAS contamination.

       12.     As of April 27, 2022, the Bi-Centennial well had PFOS concentration levels of 2.1

ppt and PFOA concentration levels of <1.8 ppt.

       13.     On June 15, 2022, the EPA released new drinking water health advisory levels

(HALs) for four PFAS, including new interim HALs of 0.02 ppt for PFOS and 0.004 ppt for PFOA.

       14.     On information and belief, fire departments, such as the Cuba Fire Department

(“CFD”), used AFFF products containing PFOS and PFOA for firefighting activities, unaware of

the environmental risks and health risks of using Defendant’s AFFF products.

       15.     On information and belief, the presence of PFAS in the VOC’s water distribution

system is due to the use of AFFF foams at CFD. AFFF foams migrated through the ground, into

the groundwater, and into Plaintiff’s wells.

       16.     In order to ensure that it can continue to provide clean and safe water to residences

and businesses, Plaintiff has and will continue to take action to address the above contamination

of its property and its potable water supply, caused by the Defendants.



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        17.     Through this action, Plaintiff seeks compensatory damages for the harm done to its

property and the costs associated with investigating, remediating, and monitoring the groundwater

well contaminated with PFAS.

                                  JURISDICTION AND VENUE

        18.     Upon information and belief, this Court has personal jurisdiction over Defendants

because each of them is doing business in New York by manufacturing, distributing, producing

and marketing products, services and/or materials in this State and/or to this State.

        19.     At all relevant times to the Complaint, Defendants conducted business in New York

and thereby availed themselves of the legal rights in New York.

        20.     Defendants have had systematic and continuous commercial contacts with New

York to establish jurisdiction over them pursuant to CPLR § 302.

        21.     This Court has personal jurisdiction over the defendants as each of them are doing

business in New York and engage in business in New York such that it is reasonably foreseeable

that they would be subject to the jurisdiction of the courts of this State.

        22.     This Court has personal jurisdiction over the Plaintiff as it is a Village in the State

of New York.

                                              PARTIES

        A.      Plaintiff

        23.     Plaintiff, the Village of Cuba, has its principal place of business located at 17 East

Main Street Cuba, New York, 14727.

        24.     Plaintiff is the owner and operator of the public water system.

        25.     In carrying out its powers, purposes and duties, Plaintiff is acting in all respects for

the benefit of the people it it serves, for the protection of their health, welfare, and prosperity.

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        B.      Defendants

        26.     The term “Defendants” refers to all Defendants named herein jointly and severally.

                  i.   The AFFF Defendants

        27.     The term “AFFF Defendants” refers collectively to Defendants 3M Company,

Angus International Safety Group, Ltd., Amerex Corporation, Buckeye Fire Equipment Company,

Carrier Global Corporation, Central Sprinkler, LLC, Chemguard Inc., Fire Products GP Holding,

LLC, Johnson Controls International PLC, Kidde-Fenwal, Inc., National Foam, Inc.., and Tyco

Fire Products L.P.,

        28.     Defendant The 3M Company f/k/a Minnesota Mining and Manufacturing Co.

(“3M”) is a corporation organized and existing under the laws of the State of Delaware, with its

principal place of business located at 3M Center, St. Paul, Minnesota 55144-1000.

        29.     Beginning before 1970 and until at least 2002, 3M designed, manufactured,

marketed, distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

PFOS.

        30.     Defendant Amerex Corporation (“Amerex”) is a corporation organized and

existing under the laws of the State of Alabama, with its principal place of business located at 7595

Gadsden Highway, Trussville, AL 35173.

        31.     Amerex is a manufacturer of firefighting products. Beginning in 1971, it was a

manufacturer of hand portable and wheeled extinguishers for commercial and industrial

applications.

        32.     In 2011, Amerex acquired Solberg Scandinavian AS, one of the largest

manufacturers of AFFF products in Europe.




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         33.     On information and belief, beginning in 2011, Amerex designed, manufactured,

marketed distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

PFOS.

         34.     Defendant Tyco Fire Products LP (“Tyco”) is a limited partnership organized

under the laws of the State of Delaware, with its principal place of business located at One Stanton

Street, Marinette, Wisconsin 54143-2542.

         35.     Tyco is the successor in interest of The Ansul Company (“Ansul”), having acquired

Ansul in 1990.

         36.     Beginning in or around 1975, Ansul designed, manufactured, marketed, distributed,

and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

         37.     After Tyco acquired Ansul in 1990, Tyco/Ansul continued to design, manufacture,

market, distribute, and sell AFFF products containing PFAS, including but not limited to PFOA

and PFOS.

         38.     Defendant Chemguard, Inc. (“Chemguard”) is a corporation organized under

the laws of the State of Texas, with its principal place of business located at One Stanton Street,

Marinette, Wisconsin 54143.

         39.     On information and belief, Chemguard designed, manufactured, marketed,

distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

PFOS.

         40.     On information and belief, Chemguard was acquired by Tyco International Ltd. in

2011.




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       41.     On information and belief, Tyco International Ltd. later merged into its subsidiary

Tyco International plc in 2014 to change its jurisdiction of incorporation from Switzerland to

Ireland.

       42.     Defendant Buckeye Fire Equipment Company (“Buckeye”) is a corporation

organized under the laws of the State of Ohio, with its principal place of business located at 110

Kings Road, Kings Mountain, North Carolina 28086.

       43.     On information and belief, Buckeye designed, manufactured, marketed, distributed,

and sold AFFF products containing PFAS, including but not limited to PFOA and PFOS.

       44.     Defendant National Foam, Inc. (“National Foam”) is a corporation organized

under the laws of the State of Delaware, with its principal place of business located at 141 Junny

Road, Angier, North Carolina 27501.

       45.     Beginning in or around 1973, National Foam designed, manufactured, marketed,

distributed, and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

       46.     On information and belief, National Foam currently manufactures the Angus brand

of AFFF products and is a subsidiary of Angus International Safety Group.

       47.     On information and belief, National Foam merged with Chubb Fire Ltd. to form

Chubb National Foam, Inc. in or around 1988.

       48.     On information and belief, Chubb is or has been composed of different subsidiaries

and/or divisions, including but not limited to, Chubb Fire & Security Ltd., Chubb Security, PLC,

Red Hawk Fire & Security, LLC, and/or Chubb National Foam, Inc. (collectively referred to as

“Chubb”).

       49.     On information and belief, Chubb was acquired by Williams Holdings in 1997.




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       50.     On information and belief, Angus Fire Armour Corporation had previously been

acquired by Williams Holdings in 1994.

       51.     On information and belief, Williams Holdings was demerged into Chubb and Kidde

P.L.C. in or around 2000.

       52.     On information and belief, when Williams Holdings was demerged, Kidde P.L.C.

became the successor in interest to National Foam System, Inc. and Angus Fire Armour

Corporation.

       53.     On information and belief, Kidde P.L.C. was acquired by United Technologies

Corporation in or around 2005.

       54.     On information and belief, Angus Fire Armour Corporation and National Foam

separated from United Technologies Corporation in or around 2013.

       55.     Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized

under the laws of the State of Delaware, with its principal place of business at One Financial Plaza,

Hartford, Connecticut 06101.

       56.     On information and belief, Kidde-Fenwal was an operating subsidiary of Kidde

P.L.C. and manufactured AFFF following Kidde P.L.C.’s acquisition by United Technologies

Corporation.

       57.     On information and belief, Kidde-Fenwal is the entity that divested the AFFF

business unit now operated by National Foam in 2013.

       58.     Defendant Carrier Global Corporation (“Carrier”) is a corporation organized

under the laws of the State of Delaware, with its principal place of business at 13995 Pasteur

Boulevard, Palm Beach Gardens, Florida 33418.




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       59.     On information and belief, Carrier was formed in March 2020 when United

Technologies Corporation spun off its fire and security business before it merged with Raytheon

Company in April 2020.

       60.     On information and belief, Kidde-Fenwal became a subsidiary of Carrier when

United Technologies Corporation spun off its fire and security business in March 2020.

       61.     On information and belief, the AFFF Defendants designed, manufactured,

marketed, distributed, and sold AFFF products containing PFOS, PFOA, and/or their chemical

precursors that were stored, handled, used, trained with, tested equipment with, otherwise

discharged, and/or disposed at CFD.

                ii.   The Fluorosurfactant Defendants

       62.     The term “Fluorosurfactant Defendants” refers collectively to Defendants 3M, ,

Arkema Inc., BASF Corporation, ChemDesign Products Incorporated, Chemguard Inc.,

Deepwater Chemicals, Inc., E.I. DuPont de Nemours and Company, The Chemours Company, The

Chemours Company FC, LLC, DuPont de Nemours Inc., and Dynax Corporation.

       63.     Defendant Arkema Inc. is a corporation organized and existing under the laws of

Pennsylvania, with its principal place of business at 900 First Avenue, King of Prussia, PA 19406.

       64.     Arkema Inc. develops specialty chemicals and polymers.

       65.     Arkema, Inc. is an operating subsidiary of Arkema France, S.A.

       66.     On information and belief, Arkema Inc. designed, manufactured, marketed,

distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

for use in AFFF products.

       67.     Defendant BASF Corporation (“BASF”) is a corporation organized under the

laws of the State of Delaware, with its principal place of business located at 100 Park Avenue,

Florham Park, New Jersey 07932.
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       68.    On information and belief, BASF is the successor-in-interest to Ciba. Inc. (f/k/a

Ciba Specialty Chemicals Corporation).

       69.    On information and belief, Ciba Inc. designed, manufactured, marketed,

distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

for use in AFFF products.

       70.    Defendant ChemDesign Products Inc. (“ChemDesign”) is a corporation

organized under the laws of Delaware, with its principal place of business located at 2 Stanton

Street, Marinette, WI, 54143.

       71.    On information and belief, ChemDesign designed, manufactured, marketed,

distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

for use in AFFF products

       72.    Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a corporation organized

under the laws of Delaware, with its principal place of business located at 196122 E County Road

40, Woodward, OK, 73801.

       73.    On information and belief, Deepwater Chemicals designed, manufactured,

marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

precursors for use in AFFF products

       74.    Defendant Dynax Corporation (“Dynax”) is a corporation organized under the

laws of the State of Delaware, with its principal place of business located at 103 Fairview Park

Drive, Elmsford, New York 10523.

       75.    On information and belief, Dynax entered into the AFFF market on or about 1991

and quickly became a leading global producer of fluorosurfactants and fluorochemical stabilizers

containing PFOS, PFOA, and/or their chemical precursors.



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       76.     On information and belief, Dynax designed, manufactured, marketed, distributed,

and sold fluorosurfactants and fluorochemical stabilizers containing PFOS, PFOA, and/or their

chemical precursors for use in AFFF products.

       77.     Defendant E.I. du Pont de Nemours & Company (“DuPont”) is a corporation

organized under the laws of the State of Delaware, with its principal place of business located at

974 Centre Road, Wilmington, Delaware 19805.

       78.     Defendant The Chemours Company (“Chemours Co.”) is a limited liability

company organized under the laws of the State of Delaware, with its principal place of business

located at 1007 Market Street, P.O. Box 2047, Wilmington, Delaware, 19899.

       79.     In 2015, DuPont spun off its performance chemicals business to Chemours Co.,

along with vast environmental liabilities which Chemours Co. assumed, including those related to

PFOS and PFOA and fluorosurfactants. On information and belief, Chemours Co. has supplied

fluorosurfactants containing PFOS and PFOA, and/or their chemical precursors to manufacturers

of AFFF products.

       80.     On information and belief, Chemours Co. was incorporated as a subsidiary of

DuPont as of April 30, 2015. From that time until July 2015, Chemours Co. was a wholly-owned

subsidiary of DuPont.

       81.     In July 2015, DuPont spun off Chemours Co. and transferred to Chemours Co. its

“performance chemicals” business line, which includes its fluoroproducts business, distributing

shares of Chemours Co. stock to DuPont stockholders, and Chemours Co. has since been an

independent, publicly-traded company.




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       82.        Defendant The Chemours Company FC, LLC (“Chemours FC”) is a limited

liability company organized under the laws of the State of Delaware, with its principal place of

business located at 1007 Market Street, Wilmington, Delaware, 19899.

       83.        Defendant Corteva, Inc. (“Corteva”) is a corporation organized and existing

under the laws of Delaware, with its principal place of business at 974 Centre Rd., Wilmington,

Delaware 19805.

       84.        Defendant Dupont de Nemours Inc. f/k/a DowDuPont, Inc. (“Dupont de

Nemours Inc.”) is a corporation organized and existing under the laws of Delaware, with its

principal place of business at 974 Centre Road, Wilmington, Delaware 19805 and 2211 H.H. Dow

Way, Midland, Michigan 48674.

       85.        On June 1, 2019, DowDuPont separated its agriculture business through the spin-

off of Corteva.

       86.        Corteva was initially formed in February 2018. From that time until June 1, 2019,

Corteva was a wholly-owned subsidiary of DowDuPont.

       87.        On June 1, 2019, DowDuPont distributed to DowDuPont stockholders all issued

and outstanding shares of Corteva common stock by way of a pro-rata dividend. Following that

distribution, Corteva became the direct parent of E. I. Du Pont de Nemours & Co.

       88.        Corteva holds certain DowDuPont assets and liabilities, including DowDuPont’s

agriculture and nutritional businesses.

       89.        On June 1, 2019, DowDuPont, the surviving entity after the spin-off of Corteva and

of another entity known as Dow, Inc., changed its name to DuPont de Nemours, Inc., to be known

as DuPont (“New DuPont”). New DuPont retained assets in the specialty products business lines




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following the above-described spin-offs, as well as the balance of the financial assets and liabilities

of E.I DuPont not assumed by Corteva.

       90.     Defendants E. I. Du Pont de Nemours and Company; The Chemours Company;

The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours, Inc. are collectively

referred to as “DuPont” throughout this Complaint.

       91.     On information and belief, DuPont designed, manufactured, marketed, distributed,

and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for use in

AFFF products.

       92.     On information and belief, 3M and Chemguard also designed, manufactured,

marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

precursors for use in AFFF products.

       93.     On information and belief, the Fluorosurfactant Defendants                    designed,

manufactured, marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or

their chemical precursors for use in AFFF products that were stored, handled, used, trained with,

tested equipment with, otherwise discharged, and/or disposed at CFD.

                 iii.   The PFC Defendants

       94.     The term “PFC Defendants” refers collectively to 3M, AGC Chemicals Americas

Inc., Archroma U.S. Inc., ChemDesign Products Inc., Chemicals, Inc., Clariant Corporation,

Deepwater Chemicals, Inc., E. I. DuPont de Nemours and Company, The Chemours Company,

The Chemours Company FC, LLC, Corteva, Inc., DuPont de Nemours Inc., and Nation Ford

Chemical Company.

       95.     Defendant AGC Chemicals Americas, Inc. (“AGC”) is a corporation organized

and existing under the laws of Delaware, having its principal place of business at 55 East Uwchlan

Avenue, Suite 201, Exton, PA 19341.
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       96.     On information and belief, AGC Chemicals Americas, Inc. was formed in 2004 and

is a subsidiary of AGC Inc., a foreign corporation organized under the laws of Japan, with its a

principal place of business in Tokyo, Japan.

       97.     AGC manufactures specialty chemicals. It offers glass, electronic displays, and

chemical products, including resins, water and oil repellants, greenhouse films, silica additives,

and various fluorointermediates.

       98.     On information and belief, AGC designed, manufactured, marketed, distributed,

and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing

the fluorosurfactants used in AFFF products.

       99.     Defendant Archroma U.S., Inc. (“Archroma”) is a corporation organized and

existing under the laws of Delaware, with its a principal place of business at 5435 77 Center Drive,

Charlotte, North Carolina 28217.

       100.    On information and belief, Archroma was formed in 2013 when Clariant

Corporation divested its textile chemicals, paper specialties, and emulsions business to SK Capital

Partners.

       101.    On information and belief, Archroma designed, manufactured, marketed,

distributed, and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

manufacturing the fluorosurfactants used in AFFF products.

       102.    Defendant Chemicals, Inc. (“Chemicals, Inc.”) is a corporation organized and

existing under the laws of Texas, with its principal place of business located at 12321 Hatcherville,

Baytown, TX 77520.




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       103.   On information and belief, Chemicals, Inc. supplied PFCs containing PFOS,

PFOA, and/or their chemical precursors for use in manufacturing the fluorosurfactants used in

AFFF products.

       104.   Defendant Clariant Corporation (“Clariant”) is a corporation organized and

existing under the laws of New York, with its principal place of business at 4000 Monroe Road,

Charlotte, North Carolina 28205.

       105.   On information and belief, Clariant is the successor in interest to the specialty

chemicals business of Sandoz Chemical Corporation (“Sandoz”). On information and belief,

Sandoz spun off its specialty chemicals business to form Clariant in 1995.

       106.   On information and belief, Clariant supplied PFCs containing PFOS, PFOA, and/or

their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF products.

       107.   Defendant Nation Ford Chemical Co. (“Nation Ford”) is a corporation

organized and existing under the laws of South Carolina, with its principal place of business

located at 2300 Banks Street, Fort Mill, SC 29715.

       108.   On information and belief, Nation Ford supplied PFCs containing PFOS, PFOA,

and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

products.

       109.   On information and belief, 3M, ChemDesign, Deepwater Chemicals, and DuPont

also supplied PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

manufacturing the fluorosurfactants used in AFFF products.

       110.   On information and belief, the Fluorochemical Defendants supplied PFCs

containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing the




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fluorosurfactants used in AFFF products that were stored, handled, used, trained with, tested

equipment with, otherwise discharged, and/or disposed at CFD.

                iv.    Doe Defendants 1-20

       111.    Doe Defendants 1-20 are unidentified entities or persons whose names are presently

unknown and whose actions, activities, omissions         (a) may have permitted, caused and/or

contributed to the contamination of Plaintiff’s water sources or supply wells; or (b) may be

vicariously responsible for entities or persons who permitted, caused and/or contributed to the

contamination of Plaintiff’s water sources or supply wells; or (c) may be successors in interest to

entities or persons who permitted, caused and/or permitted , contributed to the contamination of

Plaintiff’s water sources or supply wells. After reasonable search and investigation to ascertain the

Doe Defendants actual names, the Doe Defendants’ actual identities are unknown to Plaintiff as

they are not linked with any of the Defendants on any public source.

       112.    The Doe Defendants 1-20 either in their own capacity or through a party they are

liable for: (1) designed, manufactured, marketed, distributed, and/or sold AFFF products

containing PFOS, PFOA, and/or their chemical precursors, and/or designed, manufactured,

marketed, distributed, and/or sold the fluorosurfactants and/or PFCs contained in

AFFF/Component Products; or (2) used, handled, transported, stored, discharged, disposed of,

designed, manufactured, marketed, distributed, and/or sold PFOS, PFOA, and/or their chemical

precursors, or other non-AFFF products containing PFOS, PFOA, and/or their chemical

precursors; or (3) failed to timely perform necessary and reasonable response and remedial

measures to releases of PFOS, PFOA, and/or their chemical precursors, or other non-AFFF

products containing PFOS, PFOA, and/or their chemical precursors in to the environment in which

Plaintiff’s water supplies and well exist.



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       113.    All Defendants, at all times material herein, acted by and through their respective

agents, servants, officers and employees, actual or ostensible, who then and there were acting

within the course and scope of their actual or apparent agency, authority or duties. Defendants are

liable based on such activities, directly and vicariously.

       114.    Defendants represent all or substantially all of the market for AFFF/Component

Products at CFD.

         FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION

       A.      PFOA and PFOS and Their Risk to Public Health

       115.    PFAS are chemical compounds containing fluorine and carbon. These substances

have been used for decades in the manufacture of, among other things, household and commercial

products that resist heat, stains, oil, and water. These substances are not naturally occurring and

must be manufactured.

       116.    The two most widely studied types of these substances are PFOA and PFOS.

       117.    PFOA and PFOS have unique properties that cause them to be: (i) mobile and

persistent, meaning that they readily spread into the environment where they break down very

slowly; (ii) bioaccumulative and biomagnifying, meaning that they tend to accumulate in

organisms and up the food chain; and (iii) toxic, meaning that they pose serious health risks to

humans and animals.

       118.    PFOA and PFOS easily dissolve in water, and thus they are mobile and easily

spread in the environment. PFOA and PFOS also readily contaminate soils and leach from the soil

into groundwater, where they can travel significant distances.

       119.    PFOA and PFOS are characterized by the presence of multiple carbon-fluorine

bonds, which are exceptionally strong and stable. As a result, PFOA and PFOS are thermally,



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chemically, and biologically stable. They resist degradation due to light, water, and biological

processes.

        120.      Bioaccumulation occurs when an organism absorbs a substance at a rate faster than

the rate at which the substance is lost by metabolism and excretion. Biomagnification occurs when

the concentration of a substance in the tissues of organisms increases as the substance travels up

the food chain.

        121.      PFOA and PFOS bioaccumulate/biomagnify in numerous ways. First, they are

relatively stable once ingested, so that they bioaccumulate in individual organisms for significant

periods of time. Because of this stability, any newly ingested PFOA and PFOS will be added to

any PFOA and PFOS already present. In humans, PFOA and PFOS remain in the body for years.

        122.      PFOA and PFOS biomagnify up the food chain. This occurs, for example, when

humans eat fish that have ingested PFOA and/or PFOS.

        123.      The chemical structure of PFOA and PFOS makes them resistant to breakdown or

environmental degradation. As a result, they are persistent when released into the environment.

        124.      Exposure to PFAS is toxic and poses serious health risks to humans and animals.

        125.      PFAS are readily absorbed after consumption or inhalation and accumulate

primarily in the bloodstream, kidney, and liver.

        B.        Defendants’ Manufacture and Sale of AFFF/Component Products

        126.      AFFF is a type of water-based foam that was first developed in the 1960s to

extinguish hydrocarbon fuel-based fires.

        127.      AFFF is a Class-B firefighting foam. It is mixed with water and used to extinguish

fires that are difficult to fight, particularly those that involve petroleum or other flammable liquids.

        128.      AFFF is synthetically formed by combining fluorine-free hydrocarbon foaming

agents with fluorosurfactants. When mixed with water, the resulting solution produces an aqueous
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film that spreads across the surface of hydrocarbon fuel. This film provides fire extinguishment

and is the source of the designation aqueous film-forming foam.

       129.    Beginning in the 1960s, the AFFF Defendants designed, manufactured, marketed,

distributed, and/or sold AFFF products that used fluorosurfactants containing either PFOS, PFOA,

or the chemical precursors that degrade into PFOS and PFOA.

       130.    AFFF can be made without the fluorosurfactants that contain PFOA, PFOS, and/or

their precursor chemicals. Fluorine-free firefighting foams, for instance, do not release PFOA,

PFOS, and/or their precursor chemicals into the environment.

       131.    AFFF that contains fluorosurfactants, however, is better at extinguishing

hydrocarbon fuel-based fires due to their surface-tension lowering properties, essentially

smothering the fire and starving it of oxygen.

       132.    The fluorosurfactants used in 3M’s AFFF products were manufactured by 3M’s

patented process of electrochemical fluorination (“ECF”).

       133.    The fluorosurfactants used in other AFFF products sold by the AFFF Defendants

were manufactured by the Fluorosurfactant Defendants through the process of telomerization.

       134.    The PFCs the Fluorosurfactant Defendants needed to manufacture those

fluorosurfactants contained PFOS, PFOA, and/or their chemical precursors and were designed,

manufactured, marketed, distributed and/or sold by the PFC Defendants.

       135.    On information and belief, the PFC and Fluorosurfactant Defendants were aware

that the PFCs and fluorosurfactants they designed, manufactured, marketed, distributed, and/or

sold would be used in the AFFF products designed, manufactured, marketed, distributed, and/or

sold by the AFFF Defendants.




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       136.      On information and belief, the PFC and Fluorosurfactant Defendants designed,

manufactured, marketed, distributed, and/or sold the PFC and/or fluorosurfactants contained in the

AFFF products discharged into the environment at CFD during fire protection, training, and

response activities, resulting in widespread PFAS contamination.

       137.      On information and belief, the AFFF Defendants designed, manufactured,

marketed, distributed, and/or sold the AFFF products discharged into the environment at CFD

during fire protection, training, and response activities, resulting in widespread PFAS

contamination.

       C.        Defendants’ Knowledge of the Threats to Public Health and the Environment
                 Posed by PFOS and PFOA

       138.      On information and belief, by at least the 1970s 3M and DuPont knew or should

have known that PFOA and PFOS are mobile and persistent, bioaccumulative and biomagnifying,

and toxic.

       139.      On information and belief, 3M and DuPont concealed from the public and

government agencies its knowledge of the threats to public health and the environment posed by

PFOA and PFOS.

       140.      Some or all of the Defendants understood how stable the fluorinated surfactants

used in AFFF are when released into the environment from their first sale to a customer, yet they

failed to warn their customers or provide reasonable instruction on how to manage wastes

generated from their products.

                   i.   1940s and 1950s: Early Warnings About the Persistence of AFFF

       141.      In 1947, 3M started its fluorochemical program, and within four years, it began

selling its PFOA to DuPont. The persistence and contaminating nature of the fluorosurfactants




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contained in AFFF products were understood prior to their commercial application at 3M’s Cottage

Grove facility in Minnesota.

       142.    The inventor of 3M’s ECF process was J.H. Simons. Simons’ 1948 patent for the

ECF process reported that PFCs are “non-corrosive, and of little chemical reactivity,” and “do not

react with any of the metals at ordinary temperatures and react only with the more chemically

reactive metals such as sodium, at elevated temperatures.”1

       143.    Simons further reported that fluorosurfactants produced by the ECF process do not

react with other compounds or reagents due to the blanket of fluorine atoms surrounding the carbon

skeleton of the molecule.      3M understood that the stability of the carbon-to-fluorine bonds

prevented its fluorosurfactants from undergoing further chemical reactions or degrading under

natural processes in the environment.2

       144.    The thermal stability of 3M’s fluorosurfactants was also understood prior to

commercial production. Simons’ patent application further discloses that the fluorosurfactants

produced by the ECF process were thermally stable at temperatures up to 750° C (1382º F).

Additional research by 3M expanded the understanding of the thermal stability of perfluorocarbon

compounds.3

       145.    Nowhere in any Material Safety Data Sheet for any of Defendants’

AFFF/Component Products is information on the thermal stability of those products disclosed.

Failure to disclose knowledge of the stability of the PFCs and fluorosurfactants used in AFFF


1
 Simons, J. H., Fluorination of Organic Compounds, U.S. Patent No. 2,447,717. August 24, 1948, available
at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1005.pdf.
2
 Simons, J. H., 1950. Fluorocarbons and Their Production. Fluorine Chemistry, 1(12): 401-422, available
at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3008.pdf.
3
  Bryce, T. J., 1950. Fluorocarbons - Their Properties and Wartime Development. Fluorine Chemistry,
1(13): 423-462.


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products to customers is a failure to warn just how indestructible the AFFF’s ingredients are when

released to unprotected water sources and even treatment plants.

                  ii.   1960s: AFFF’s Environmental Hazards Come Into Focus

        146.    By at least the end of the 1960s, additional research and testing performed by 3M

and DuPont indicated that fluorosurfactants, including at least PFOA, because of their unique

chemical structure, were resistant to environmental degradation and would persist in the

environment essentially unaltered if allowed to enter the environment.

        147.    One 3M employee wrote in 1964: “This chemical stability also extends itself to all

types of biological processes; there are no known biological organisms that are able to attack the

carbon-fluorine bond in a fluorocarbon.”4 Thus, 3M knew by the mid-1960s that its surfactants

were immune to chemical and biological degradation in soils and groundwater.

        148.    3M also knew by 1964 that when dissolved, fluorocarbon carboxylic acids and

fluorocarbon sulfonic acids dissociated to form highly stable perfluorocarboxylate and

perfluorosulfonate ions. Later studies by 3M on the adsorption and mobility of FC-95 and FC-143

(the ammonium salt of PFOA) in soils indicated very high solubility and very high mobility in

soils for both compounds.5

                 iii.   1970s: Internal Studies Provide Evidence of Environmental and Health
                        Risks

        149.    By 1950, 3M knew that the fluorosurfactants used in its AFFF product(s) would

not degrade when released to the environment but would remain intact and persist. Two decades




4
 Bryce, H.G., Industrial and Utilitarian Aspects of Fluorine Chemistry (1964), available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3022.pdf.
5
  Technical Report Summary re : Adsorption of FC 95 and FC143 on Soil, Feb. 27, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1158.pdf.

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later—and after the establishment of a robust market of AFFFs using fluorosurfactants—3M

finally got around to looking at the environmental risks that fluorosurfactants posed.

         150.    An internal memo from 3M in 1971 states that “the thesis that there is ‘no natural

sink’ for fluorocarbons obviously demands some attention.”6 Hence, 3M understood at the very

least that the fluorosurfactant used in its AFFF products would, in essence, never degrade once it

was released into the environment.

         151.    By the mid-1970s, 3M and Ansul (and possibly other Defendants) had an intimate

understanding of the persistent nature of PFCs.        A 1976 study, for example, observed no

biodegradation of FC-95, the potassium salt of PFOS; a result 3M characterized as “unsurprising”

in light of the fact that “[b]iodegradation of FC 95 is improbable because it is completely

fluorinated.”7

         152.    In 1977, Ansul authored a report titled “Environmentally Improved AFFF,” which

acknowledged that releasing AFFF into the environment could pose potential negative impacts to

groundwater quality.8 Ansul wrote: “The purpose of this work is to explore the development of

experimental AFFF formulations that would exhibit reduced impact on the environment while

retaining certain fire suppression characteristic . . . improvements [to AFFF formulations] are

desired in the environmental area, i.e., development of compositions that have a reduced impact

on the environment without loss of fire suppression effectiveness.” Thus, Ansul knew by the mid-

1970s that the environmental impact of AFFF needed to be reduced, yet there is no evidence that

Ansul (or any other Defendant) ever pursued initiatives to do so.


6
 Memorandum from H.G. Bryce to R.M. Adams re : Ecological Aspects of Fluorocarbons, Sept. 13, 1971,
available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1088.pdf.
7
    Technical Report Summary, August 12, 1976 [3MA01252037].
8
 Ansul Co., Final Report: Environmentally Improved AFFF, N00173-76-C-0295, Marinette, WI, Dec. 13,
1977, available at https://apps.dtic.mil/dtic/tr/fulltext/u2/a050508.pdf.

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       153.    A 1978 3M biodegradation study likewise reported that an “extensive study

strongly suggest[ed]” one of its PFCs is “likely to persist in the environment for extended period

unaltered by metabolic attack.”9 A year later, a 3M study reported that one of its fluorosurfactants

“was found to be completely resistant to biological test conditions,” and that it appeared waterways

were the fluorosurfactant’s “environmental sink.”10

       154.    In 1979, 3M also completed a comprehensive biodegradation and toxicity study

covering investigations between 1975 and 1978.11 More than a decade after 3M began selling

AFFF containing fluorosurfactants it wrote: “there has been a general lack of knowledge relative

to the environmental impact of these chemicals.” The report ominously asked, “If these materials

are not biodegradable, what is their fate in the environment?”

       155.    During the 1970s, 3M also learned that the fluorosurfactants used in AFFF

accumulated in the human body and were “even more toxic” than previously believed.

       156.    In 1975, 3M learns that PFAS was present in the blood of the general population.12

Since PFOA and PFOS are not naturally occurring, this finding should have alerted 3M to the

possibility that their products were a source of this PFOS. The finding also should have alerted 3M

to the possibility that PFOS might be mobile, persistent, bioaccumulative, and biomagnifying, as

those characteristics could explain how PFOS from 3M's products ended up in human blood.



9
 Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
Fluorocarbons - II, Jan. 1, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1153.pdf.
10
  Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
Fluorocarbons - III, July 19, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1179.pdf.
11
  Technical Report Summary, Final Comprehensive Report on FM 3422, Feb. 2, 1979, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2563.pdf.
12
 Memorandum from G.H. Crawford to L.C. Krogh et al. re: Fluorocarbons in Human Blood Plasma,
Aug. 20, 1975, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1118.pdf.

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       157.    In 1976, 3M found PFAS in the blood of its workers at levels “up to 1000 times

‘normal’ amounts of organically bound fluorine in their blood.”13 This finding should have alerted

3M to the same issues raised by the prior year’s findings.

       158.    Studies by 3M in 1978 showed that PFOA reduced the survival rate of fathead

minnow fish eggs,14 that PFOS was toxic to monkeys,15 and that PFOS and PFOA were toxic to

rats.16 In the study involving monkeys and PFOS, all of the monkeys died within days of ingesting

food contaminated with PFOS.

       159.    In 1979, 3M and DuPont discussed 3M’s discovery of PFOA in the blood of its

workers and came to the same conclusion that there was “no reason” to notify the EPA of the

finding.17

                iv.    1980s and 1990s: Evidence of AFFF’s Health Risks Continues to Mount

       160.    By at least the end of the 1980s, additional research and testing performed by

Defendants, including at least 3M and DuPont, indicated that elevated incidence of certain cancers

and other adverse health effects, including elevated liver enzymes and birth defects, had been

observed among workers exposed to such materials, including at least PFOA, but such data was


13
  3M Chronology – Fluorochemicals in Blood, Aug. 26, 1977, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1144.pdf.
14
  The Effects of Continuous Aqueous Exposure to 78.03 on Hatchability of Eggs and Growth and
Survival of Fry of Fathead Minnow, June 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1176.pdf.
15
  Ninety-Day Subacute Rhesus Monkey Toxicity Study, Dec. 18, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1191.pdf; Aborted FC95 Monkey Study,
Jan. 2, 1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1193.pdf.
16
  Acute Oral Toxicity (LD50) Study in Rats (FC-143), May 5, 1978, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1170.pdf; FC-95, FC-143 and FM-3422 – 90
Day Subacute Toxicity Studies Conducted at IRDC – Review of Final Reports and Summary, Mar. 20,
1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.
17
  Memorandum from R.A. Prokop to J.D. Lazerte re: Disclosure of Information on Levels of
Fluorochemicals in Blood, July 26, 1979, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2723.pdf.

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not published, provided to governmental entities as required by law, or otherwise publicly

disclosed at the time.

          161.    In 1981, DuPont tested for and found PFOA in the blood of female plant workers

Parkersburg, West Virginia. DuPont observed and documented pregnancy outcomes in exposed

workers, finding two of seven children born to female plant workers between 1979 and 1981 had

birth defects—one an “unconfirmed” eye and tear duct defect, and one a nostril and eye defect. 18

          162.    In 1983, 3M researchers concluded that concerns about PFAS “give rise to concern

for environmental safety,” including “legitimate questions about the persistence, accumulation

potential, and ecotoxicity of fluorochemicals in the environment.”19 That same year, 3M completed

a study finding that PFOS caused the growth of cancerous tumors in rats.20 This finding was later

shared with DuPont and led them to consider whether “they may be obliged under their policy to

call FC-143 a carcinogen in animals.”21

          163.    In 1984, 3M documented a trend of increasing levels of PFOS in the bodies of 3M

workers, leading one of the company’s medical officers to warn in an internal memo: “we must

view this present trend with serious concern. It is certainly possible that . . . exposure opportunities

are providing a potential uptake of fluorochemicals that exceeds excretion capabilities of the

body.”22


18
     C-8 Blood Sampling Results, available at http://tiny.cc/v8z1mz.
19
  3M Environmental Laboratory (EE & PC), Fate of Fluorochemicals - Phase II, May 20, 1983, available
at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1284.pdf.
20
   Two Year Oral (Diet) Toxicity/Carcinogenicity Study of Fluorochemical FC-143 in Rats, Volume 1 of
4, Aug. 29, 1987, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1337.pdf.
21
  Memorandum from R.G. Perkins to F.D. Griffith re: Summary of the Review of the FC-143 Two-Year
Feeder Study Report to be presented at the January 7, 1988 meeting with DuPont, January 5, 1988,
available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1343.pdf.
22
  Memorandum from D.E. Roach to P.F. Riehle re: Organic Fluorine Levels, Aug. 31, 1984, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1313.pdf.

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       164.    A 1997 material safety data sheet (“MSDS”) for a non-AFFF product made by 3M

listed its only ingredients as water, PFOA, and other perfluoroalkyl substances and warned that the

product includes “a chemical which can cause cancer.” The MSDS cited “1983 and 1993 studies

conducted jointly by 3M and DuPont” as support for this statement. On information and belief, the

MSDS for 3M’s AFFF products did not provide similar warnings or information.

                 v.    Defendants Hid What They Knew from the Government and the Public.

       165.    Federal law requires chemical manufacturers and distributors to immediately notify

the EPA if they have information that “reasonably supports the conclusion that such substance or

mixture presents a substantial risk of injury to health or the environment.” Toxic Substances

Control Act (“TSCA”) § 8(e), 15 U.S.C. § 2607(e)

       166.    In April 2006, 3M agreed to pay EPA a penalty of more than $1.5 million after

being cited for 244 violations of the TSCA, which included violations for failing to disclose studies

regarding PFOS, PFOA, and other PFCs dating back decades.

       167.    Likewise, in December 2005, the EPA announced it was imposing the “Largest

Environmental Administrative Penalty in Agency History” against DuPont based on evidence that

it violated the TSCA by concealing the environmental and health effects of PFOA.

       168.    On information and belief, Defendants knew or should have known that AFFF

containing PFOA or PFOS would very likely injure and/or threaten public health and the

environment, even when used as intended or directed.

       169.    Defendants failed to warn of these risks to the environment and public health,

including the impact of their AFFF/Component Products on the quality of unprotected water

sources.

       170.    Defendants were all sophisticated and knowledgeable in the art and science of

designing, formulating, and manufacturing AFFF/Component Products. They understood far
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more about the properties of their AFFF/Component Products—including the potential hazards

they posed to human health and the environment—than any of their customers. Still, Defendants

declined to use their sophistication and knowledge to design safer products.

       D.      The Impact of PFOS and PFOA on the Environment and Human Health Is
               Finally Revealed

       171.    As discussed above, neither 3M, DuPont, nor, on information and belief, any other

Defendant complied with their obligations to notify EPA about the “substantial risk of injury to

health or the environment” posed by their AFFF/Component Products. See TSCA § 8(e).

       172.    Despite decades of research, 3M first shared its concerns with EPA in the late

1990s. In a May 1998 report submitted to EPA, “3M chose to report simply that PFOS had been

found in the blood of animals, which is true but omits the most significant information,” according

to a former 3M employee.23

       173.    On information and belief, 3M began in 2000 to phase out its production of products

that contained PFOS and PFOA in response to pressure from the EPA.

       174.    Once the truth about PFOS and PFOA was revealed, researchers began to study the

environmental and health effects associated with them, including a “C8 Science Panel” formed out

of a class action settlement arising from contamination from DuPont’s Washington Works located

in Wood County, West Virginia.

       175.    The C8 panel consisted of three epidemiologists specifically tasked with

determining whether there was a probable link between PFOA exposure and human diseases. In

2012, the panel found probable links between PFOA and kidney cancer, testicular cancer,




23
  Letter from R. Purdy, Mar. 28, 1999, available at
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.

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ulcerative colitis, thyroid disease, pregnancy-induced hypertension (including preeclampsia), and

hypercholesterolemia.

       176.    Human health effects associated with PFOS exposure include immune system

effects, changes in liver enzymes and thyroid hormones, low birth weight, high uric acid, and high

cholesterol. In laboratory testing on animals, PFOA and PFOS have caused the growth of tumors,

changed hormone levels, and affected the function of the liver, thyroid, pancreas, and immune

system.

       177.    The injuries caused by PFAS can arise months or years after exposure.

       178.    Even after the C8 Science Panel publicly announced that human exposure to 50

parts per trillion, or more, of PFOA in drinking water for one year or longer had “probable links”

with certain human diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid

disease, preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured

and represented to governmental entities, their customers, and the public (and continue to do so)

that the presence of PFOA in human blood at the levels found within the United States presents no

risk of harm and is of no legal, toxicological, or medical significance of any kind.

       179.    Furthermore, Defendants have represented to and assured such governmental

entities, their customers, and the public (and continue to do so) that the work of the independent

C8 Science Panel was inadequate to satisfy the standards of Defendants to prove such adverse

effects upon and/or any risk to humans with respect to PFOA in human blood.

       180.    At all relevant times, Defendants, through their acts and/or omissions, controlled,

minimized, trivialized, manipulated, and/or otherwise influenced the information that was

published in peer-review journals, released by any governmental entity, and/or otherwise made

available to the public relating to PFAS in human blood and any alleged adverse impacts and/or



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risks associated therewith, effectively preventing the public from discovering the existence and

extent of any injuries/harm as alleged herein.

       181.      On May 2, 2012, the EPA published its Third Unregulated Contaminant Monitoring

Rule (“UCMR3”), requiring public water systems nationwide to monitor for thirty contaminants

of concern between 2013 and 2015, including PFOS and PFOA.24

       182.      In the May 2015 “Madrid Statement on Poly- and Perfluoroalkyl Substances

(PFAS’s),” scientists and other professionals from a variety of disciplines, concerned about the

production and release into the environment of PFOA, called for greater regulation, restrictions,

limits on the manufacture and handling of any PFOA containing product, and to develop safe non-

fluorinated alternatives to these products to avoid long-term harm to human health and the

environment.25

       183.      On May 25, 2016, the EPA released a lifetime health advisory level (HAL) for

drinking water and health effects support documents for PFOS and PFOA.26 See Fed. Register,

Vol. 81, No. 101, May 25, 2016. The EPA developed the HAL to assist governmental officials in

protecting public health when PFOS and PFOA are present in drinking water. The EPA HAL

identified the concentration of PFOS and PFOA in drinking water at or below which adverse health

effects are not anticipated to occur over a lifetime of exposure at 0.07 ppb or 70 ppt. The HAL was

based on peer-reviewed studies of the effects of PFOS and PFOA on laboratory animals (rats and



24
  Revisions to the Unregulated Contaminant Monitoring Regulation (UCMR 3) for Public Water
Systems, 77 Fed. Reg: 26072 (May 2, 2012).
25
  Blum A, Balan SA, Scheringer M, Trier X, Goldenman G, Cousins IT, Diamond M, Fletcher T, Higgins
C, Lindeman AE, Peaslee G, de Voogt P, Wang Z, Weber R. 2015. The Madrid statement on poly- and
perfluoroalkyl      substances    (PFASs).    Environ    Health      Perspect    123:A107–A111;
http://dx.doi.org/10.1289/ehp.1509934.
26
  See Fed. Register, Vol. 81, No. 101, May 25, 2016, Lifetime Health Advisories and Health Effects
Support Documents for Perfluorooctanoic Acid and Perfluorooctane Sulfonate.

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mice) and was also informed by epidemiological studies of human populations exposed to PFOS.

These studies indicated that exposure to PFOS and PFOA over the HAL could result in adverse

health effects, including:

              a. Developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low

                  birth weight, accelerated puberty, skeletal variations);

              b. Cancer (testicular and kidney);

              c. Liver effects (tissue damage);

              d. Immune effects (e.g., antibody production and immunity);

              e. Thyroid disease and other effects (e.g., cholesterol changes).

          184.    In 2016, the National Toxicology Program of the United States Department of

Health and Human Services (“NTP”) and the International Agency for Research on Cancer

(“IARC”) both released extensive analyses of the expanding body of research regarding the

adverse effects of PFCs. The NTP concluded that both PFOA and PFOS are “presumed to be an

immune hazard to humans” based on a “consistent pattern of findings” of adverse immune effects

in human (epidemiology) studies and “high confidence” that PFOA and PFOS exposure was

associated with suppression of immune responses in animal (toxicology) studies.27

          185.    IARC similarly concluded that there is “evidence” of “the carcinogenicity of . . .

PFOA” in humans and in experimental animals, meaning that “[a] positive association has been

observed between exposure to the agent and cancer for which a causal interpretation is . . .

credible.”28


27
  See U.S. Dep’t of Health and Human Services, Nat’l Toxicology Program, NTP Monograph:
Immunotoxicity Associated with Exposure to Perfluorooctanoic Acid or Perfluorooctane Sulfonate (Sept.
2016), at 1, 17, 19, available at
https://ntp.niehs.nih.gov/ntp/ohat/pfoa_pfos/pfoa_pfosmonograph_508.pdf
28
     See Int’l Agency for Research on Cancer, IARC Monographs: Some Chemicals Used as Solvents and in
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          186.   California has listed PFOA and PFOS to its Proposition 65 list as a chemical known

to cause reproductive toxicity under the Safe Drinking Water and Toxic Enforcement Act of

1986.29

          187.   The United States Senate and House of Representatives passed the National

Defense Authorization Act in November 2017, which included $42 Million to remediate PFC

contamination from military bases, as well as devoting $7 Million toward the Investing in Testing

Act, which authorizes the Center for Disease Control and Prevention (“CDC”) to conduct a study

into the long-term health effects of PFOA and PFOS exposure.30 The legislation also required that

the Department of Defense submit a report on the status of developing a new military specification

for AFFF that did not contain PFOS or PFOA.31

          188.   In June 2018, the Agency for Toxic Substances and Disease Registry (“ATSDR”)

and EPA released a draft toxicological profile for PFOS and PFOA and recommended the drinking

water advisory levels be lowered to 11 ppt for PFOA and 7 ppt for PFOS.32

          189.   On February 20, 2020, the EPA announced a proposed decision to regulate PFOA

and PFOS under the Safe Drinking Water Act, which the agency characterized as a “key milestone”



Polymer Manufacture (Dec. 2016), at 27, 97, available at
http://monographs.iarc.fr/ENG/Monographs/vol110/mono110.pdf.
29
  California Office of Environmental Health Hazard Assessment, Chemicals Listed Effective Nov. 10,
2017 as Known to the State of California to Cause Reproductive Toxicity: Perfluorooctanoic Acid
(PFOA) and Perfluorooctane Sulfonate (PFOS), Nov. 9, 2017, available at
https://oehha.ca.gov/proposition-65/crnr/chemicals-listed-effective-november-10-2017-known-state-
california-cause.
30
  National Defense Authorization Act for Fiscal Year 2018, H.R. 2810, 115th Congress (2017), available
at https://www.congress.gov/115/plaws/publ91/PLAW-115publ91.pdf.
31
  Id.; see also U.S. Department of Defense, Alternatives to Aqueous Film Forming Foam Report to
Congress, June 2018, available at https://www.denix.osd.mil/derp/home/documents/alternatives-to-
aqueous-film-forming-foam-report-to-congress/.
32
  ATSDR, Toxicological Profile for Perfluoroalkyls: Draft for Public Comment (June 2018), available at
https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.

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in its efforts to “help communities address per- and polyfluoroalkyl substances (PFAS)

nationwide.”33 Following a public comment period on its proposed decision, the EPA will decide

whether to move forward with the process of establishing a national primary drinking water

regulation for PFOA and PFOS.

            190.   On June 15, 2022, the EPA released new drinking water health advisory levels

(HALs) for four PFAS, including new interim HALs for PFOS and PFOA that departed

significantly from the 2016 EPA HAL they replaced.34 See Fed. Register, Vol. 87, No. 36848, June

21, 2022. Specifically, EPA issued HALs of 0.004 ppt for PFOA and 0.02 ppt for PFOS,35 which

collectively accounted for only a small fraction of the combined 70 ppt HAL that preceded them.

Importantly, EPA set these interim HALs at levels below which PFOS and PFOA can be measured

using current analytic methods, meaning that the mere detection of PFOS or PFOA in a water

provider’s system would be sufficient on its own to exceed the new levels.

            191.   As support for its decision, EPA explained that the science had evolved since 2016

and that the new interim HALs for PFOS and PFOA were “based on human studies” that “found

associations between PFOA and/or PFOS exposure and effects on the immune system, the

cardiovascular system, human development (e.g., decreased birth weight), and cancer.”36

Specifically, EPA had performed updated health effects analyses for PFOS and PFOA to provide




33
  Press Release, EPA Announces Proposed Decision to Regulate PFOA and PFOS in Drinking Water,
Feb. 20, 2020, available at https://www.epa.gov/newsreleases/epa-announces-proposed-decision-
regulate-pfoa-and-pfos-drinking-water.
34
  See Fed. Register, Vol. 87, No. 36848, June 21, 2022, Lifetime Drinking Water Health Advisories for
Four Perfluoroalkyl Substances.
35
     Id.
36
  EPA, Drinking Water Health Advisories for PFAS Fact Sheet for Communities at 1-2 (June 2022),
available at https://www.epa.gov/system/files/documents/2022-06/drinking-water-ha-pfas-factsheet-
communities.pdf..

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support for the drinking water regulations the agency planned to adopt for the two chemicals under

the SDWA. Based on these analyses, EPA concluded that “the levels at which negative health

effects could occur are much lower than previously understood when EPA issued the 2016 health

advisories for PFOA and PFOS – including near zero for certain health effects.”37 For this reason,

the agency determined there was a “pressing need to provide updated information on the current

best available science to public health officials prior to finalization of the health effects

assessment.”38

        192.     Because the referenced health analyses are still undergoing final review by EPA’s

Science Advisory Board, the agency has stated that the new interim HALs for PFOS and PFOA

are subject to change. EPA has indicated, however, that it does not anticipate any changes resulting

in revised HALs for PFOS and PFOA that are greater than the 4 ppt minimum reporting level39

that applies to Public Water Systems.40

        E.       CFD’s use of AFFF as an Extinguishing Agent for Class B fires at VOC

        193.     The CFD is located at 51 E Main St, Cuba, NY 14727.




37
  EPA, Drinking Water Health Advisories for PFAS Fact Sheet for Public Water Systems at 2 (June
2022), available at https://www.epa.gov/system/files/documents/2022-06/drinking-water-ha-pfas-
factsheet-water-system.pdf.
38
  EPA Office of Water, EPA Doc. No. 822-R-22-003, INTERIM Drinking Water Health Advisory:
Perfluorooctanoic Acid (PFOA) CASRN 335-67-1 at 18 (June 2022), available at
https://www.epa.gov/system/files/documents/2022-06/interim-pfoa-2022.pdf; EPA Office of Water, EPA
Doc. No. 822-R-22-004, INTERIM Drinking Water Health Advisory: CASRN 1763-23-1 at 18 (June
2022), available at https://www.epa.gov/system/files/documents/2022-06/interim-pfos-2022.pdf.
39
  As EPA’s website explains, the Minimum Reporting Level (“MRL”) for Unregulated Contaminant
Monitoring Rule (UCMR) 5 is the minimum quantitation level that, with 95 percent confidence, can be
achieved by capable analysts at 75 percent or more of the laboratories using a specified analytical method.
The MRLs in EPA’s chart are based on the UCMR 5 requirement to use EPA Method 533.
40
  EPA, Drinking Water Health Advisories for PFAS Fact Sheet for Public Water Systems at 2 (June
2022), available at https://www.epa.gov/system/files/documents/2022-06/drinking-water-ha-pfas-
factsheet-water-system.pdf.

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        194.     CFD is a volunteer fire department whose mission is to provide fire prevention, fire

suppression, and other emergency services to the residents of the VOC.

        195.     On information and belief, CFD used AFFF as an extinguishing agent for Class B

fires during fire protection and response activities at VOC.

        196.     Fire departments, such as CFD, used AFFF Products containing PFOS and PFOA

for firefighting activities, unaware of the environmental risks and health risks of using Defendants’

AFFF products.

        197.     Defendants’ AFFF/Component Products have the capacity to percolate through the

surface, into groundwater systems. As a result, PFOS and PFOA contaminants migrated into

Plaintiff’s water source and distribution system.

        F.       Plaintiff’s Contamination of its Water System Caused By AFFF

        198.     The VOC owns and operates its public water system which delivers drinking water

to its residents..

        199.     The VOC water system is comprised of one water storage tank, the water

distribution system and two water supply wells: Bi-Centennial Well and Champlain Well.

        200.     On February 26, 2021, Plaintiff performed PFAS testing in its water supply system.

PFAS contamination was first detected in the Bi-Centennial well where PFOS concentration levels

reached 2.6 ppt.

        201.     As of September 15, 2021, the Bi-Centennial well had PFOS concentration levels

at 2.4 ppt and PFOA concentration levels at <2.0 ppt.

        202.     On December 16, 2021, Bi-Centennial well results reported PFOS concentration

levels of 2.2 ppt and PFOA concentration levels of <1.9 ppt.




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       203.    On March 3, 2022, PFOS concentration levels increased in the Bi-Centennial Well.

PFOS concentration levels reached 2.8 ppt, and <1.8 ppt concentration levels of PFOA were

detected.

       204.    As of April 27th, 2022, PFOS concentration levels were at 2.1 ppt and PFOA

concentration levels were at <1.8 ppt in the Bi-Centennial well.

       205.    To ensure compliance with all regulatory standards established by the State of New

York, Plaintiff has and will have to incur in significant costs related to PFAS testing, monitoring,

and remedial actions designed to mitigate the contamination levels on the VOC’s water distribution

system.

       206.    Such actions include, but are not limited to planning, designing, purchasing,

installing, and maintaining water filtration systems to remove these chemicals, infrastructure

modifications, contingency planning, public notice, and outreach.

       207.    Due to the persistent and long-term nature of PFAS contamination, Plaintiff has

incurred and reasonably expects to suffer damages and incur costs associated with continuing its

investigation and remediation efforts, as required by New York law, as well as its legal costs, for

many years to come.

       G.      AFFF Containing PFOS and PFOA Is Fungible and Commingled in the
               Groundwater

       208.    AFFF containing PFOS and/or PFOA, once it has been released to the environment,

lacks characteristics that would enable identification of the company that manufactured that

particular batch of AFFF or chemical feedstock.

       209.    A subsurface plume, even if it comes from a single location, such as a retention

pond or fire training area, originates from mixed batches of AFFF and chemical feedstock coming

from different manufacturers.


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       210.    Because precise identification of the specific manufacturer of any given

AFFF/Component Product that was a source of the PFAS found at VOC is nearly impossible,

given certain exceptions, Plaintiff must pursue all Defendants, jointly and severally.

       211.    Defendants are also jointly and severally liable because they conspired to conceal

the true toxic nature of PFOS and PFOA, to profit from the use of AFFF/Component Products

containing PFOS and PFOA, at Plaintiff's expense, and to attempt to avoid liability.

               MARKET SHARE LIABILITY, ALTERNATIVE LIABILITY,
                CONCERT OF ACTION, AND ENTERPRISE LIABILITY

       212.    Defendants in this action are manufacturers that control a substantial share of the

market for AFFF/Component Products containing PFOS, PFOA, and/or their chemical precursors

in the United States and are jointly responsible for the contamination of the groundwater at VOC.

Market share liability attaches to all Defendants and the liability of each should be assigned

according to its percentage of the market for AFFF/Component Products at issue in this Complaint.

       213.    Because PFAS is fungible, it is impossible to identify the exact Defendant who

manufactured any given AFFF/Component Product containing PFOS, PFOA, and/or their

chemical precursors found free in the air, soil or groundwater, and each of these Defendants

participated in a territory-wide and U.S. national market for AFFF/Component Products during

the relevant time.

       214.    Concert of action liability attaches to all Defendants, each of which participated in

a common plan to commit the torts alleged herein and each of which acted tortuously in pursuance

of the common plan to knowingly manufacture and sell inherently dangerous AFFF/Component

Products containing PFOS, PFOA, and/or their chemical precursors.

       215.    Enterprise liability attaches to all the named Defendants for casting defective

products into the stream of commerce.


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                                       CAUSES OF ACTION

                                           COUNT I:
                                       DEFECTIVE DESIGN

       216.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

215 above, and further alleges the following:

       217.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors, Defendants owed a duty to all persons whom its products might

foreseeably harm, including Plaintiff, and not to market any product which is unreasonably

dangerous in design for its reasonably anticipated use.

       218.    Defendants’ AFFF/Component Products were unreasonably dangerous for its

reasonably anticipated uses for the following reasons:

           a. PFAS causes extensive groundwater contamination, even when used in its foreseeable

               and intended manner;

           b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

           c. PFAS poses significant threats to public health; and

           d. PFAS create real and potential environmental damage.

       219.    Defendants knew of these risks and failed to use reasonable care in the design of

their AFFF/Component Products.

       220.    AFFF containing PFOS, PFOA, and/or their chemical precursors poses a greater

danger to the environment and to human health than would be expected by ordinary persons such

as Plaintiff and the general public.

       221.    At all times, Defendants were capable of making AFFF/Component Products that

did not contain PFOS, PFOA, and/or their chemical precursors. Thus, reasonable alternative

designs existed which were capable of preventing Plaintiff's injuries.

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          222.   The risks posed by AFFF containing PFOS, PFOA, and/or their chemical

precursors far outweigh the products’ utility as a flame-control product.

          223.   The likelihood that Defendants’ AFFF/Component Products would be spilled,

discharged, disposed of, or released into the environment and contaminate Plaintiff’s water source

with PFAS far outweighed any burden on Defendants to adopt an alternative design, and

outweighed the adverse effect, if any, of such alternative design on the utility of the product.

          224.   As a direct and proximate result of Defendants’ unreasonably dangerous design,

manufacture, and sale of AFFF/Component Products containing PFOS, PFOA, and/or their

chemical precursors, Plaintiff’s water system have been contaminated.

          225.   Defendants knew that it was substantially certain that their acts and omissions

described above would contaminate Plaintiff’s water source with PFAS. Defendants committed each

of the above-described acts and omissions knowingly, willfully, and/or with fraud, oppression, or

malice, and with conscious and/or reckless disregard for Plaintiff's health and safety, and/or property

rights.

                                           COUNT II:
                                       FAILURE TO WARN

          226.   Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

225 above, and further allegesthe following:

          227.   As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors, Defendants had a duty to provide adequate warnings of the risks of these

products to all persons whom its product might foreseeably harm, including Plaintiff and the

public.

          228.   Defendants’ AFFF/Component Products were unreasonably dangerous for its

reasonably anticipated uses for the following reasons:

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           a. PFAS causes extensive groundwater contamination, even when used in its foreseeable

               and intended manner;

           b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

           c. PFAS poses significant threats to public health; and

           d. PFAS create real and potential environmental damage.

       229.    Defendants knew of the health and environmental risks associated with their

AFFF/Component Products, and failed to provide a warning that would lead an ordinary

reasonable user or handler of a product to contemplate the dangers associated with their products

or an instruction that would have avoided Plaintiff's injuries.

       230.    Despite Defendants’ knowledge of the environmental and human health hazards

associated with the use and/or disposal of their AFFF/Component Products in the vicinity of drinking

water supplies, including PFAS contamination of public drinking supplies and private wells,

Defendants failed to issue any warnings, instructions, recalls, or advice regarding their

AFFF/Component Products to Plaintiff, governmental agencies or the public.

       231.    As a direct and proximate result of Defendants’ failure to warn, Plaintiff has suffered

contamination in its water supply system.

       232.    Defendants knew that it was substantially certain that their acts and omissions

described above would contaminate Plaintiff’s water supply system. Defendants committed each

of the above-described acts and omissions knowingly, willfully, and/or with fraud, oppression, or

malice, and with conscious and/or reckless disregard for Plaintiff's health and safety, and/or

property rights.




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                                            COUNT III:
                                           NEGLIGENCE

        233.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

232 above, and further allegesthe following:

        234.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors, Defendants owed a duty to Plaintiff and to all persons whom its products

might foreseeably harm and to exercise due care in the formulation, manufacture, sale, labeling,

warning, and use of PFAS-containing AFFF.

        235.    Defendants owed a duty to Plaintiff to act reasonably and not place inherently

dangerous AFFF/Component Products into the marketplace when its release into the air, soil, and

water was imminent and certain.

        236.    Defendants knew or should have known that PFAS were leaching from AFFF used

for fire protection, training, and response activities.

        237.    Defendants knew or should have known that PFAS are highly soluble in water,

highly mobile, extremely persistent in the environment, and high likely to contaminate water

supplies if released into the environment.

        238.    Defendants knew or should have known that the manner in which they were

designing, manufacturing, marketing, distributing, and selling their AFFF/Component Products

would result in the contamination of Plaintiff’s water supply system.

        239.    Despite the fact that Defendants knew or should have known that PFAS are toxic,

can contaminate water resources and are carcinogenic, Defendants negligently:

            a. designed, manufactured, formulated, handled, labeled, instructed, controlled,

                marketed, promoted, and/or sold AFFF/Component Products containing PFOS,

                PFOA, and/or their chemical precursors;

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           b. issued deficient instructions on how their AFFF/Component Products should be used

               and disposed of, thereby permitting PFAS to contaminate the groundwater in and

               around VOC;

           c. failed to recall and/or warn the users of their AFFF/Component Products of the

               dangers of groundwater contamination as a result of standard use and disposal of their

               products;

           d. failed and refused to issue the appropriate warning and/or recalls to the users of their

               AFFF/Component Products; and

           e. failing to take reasonable, adequate, and sufficient steps or actions to eliminate,

               correct, or remedy any contamination after it occurred.

       240.    The magnitude of the burden on the Defendants to guard against this foreseeable

harm to Plaintiff was minimal, as the practical consequences of placing this burden on the

Defendants amounted to a burden to provide adequate instructions, proper labeling, and sufficient

warnings about their AFFF/Component Products.

       241.    As manufacturers, Defendants were in the best position to provide adequate

instructions, proper labeling, and sufficient warnings about their AFFF/Component Products, and

to take steps to eliminate, correct, or remedy any contamination they caused.

       242.    As a direct and proximate result of Defendants’ negligence, Plaintiff has suffered

from contamination in its water supply system.

       243.    Defendants knew that it was substantially certain that their acts and omissions

described above would contaminate Plaintiff’s water supply system. Defendants committed each

of the above-described acts and omissions knowingly, willfully, and/or with fraud, oppression, or




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malice, and with conscious and/or reckless disregard for Plaintiff's health and safety, and/or property

rights.

                                          COUNT IV:
                                       PUBLIC NUISANCE

          244.   Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

243 above, and further allegesthe following:

          245.   Plaintiff provides drinking water to its residents to from its groundwater supply

wells that is used for drinking, bathing, cleaning, washing, cooking, water vegetables, and other

uses.

          246.   Because Plaintiff is a public entity, the water it provides to its residential and

commercial customers is a public and commonly held resource. Members of the public have a

right to have their water remain clean, safe, and free of Defendants’ toxic contamination.

          247.   Defendants’ acts and omissions, including their manufacture, sale, supply,

marketing, and defective design of, and/or failure to warn regarding PFOA and/or PFOS in their

AFFF/Component Products, contaminated Plaintiff’s wells, rendering water served from them

unfit for human consumption and a public health hazard.

          248.   Consequently, Defendants substantially interfered with and caused damage to a

public or common resource that endangered public property, as well as the health, safety, and

comfort of a considerable number of persons. Such action creates, contributes to, or maintains a

public nuisance.

          249.   As an owner of water production wells and purveyor of drinking water, Plaintiff

suffers injuries different in kind from the community at large because it relies entirely upon its

water production wells for its public service functions.




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       250.    Defendants knew it was substantially certain that their acts and omissions described

above would cause injury and damage, including PFOA and PFOS contamination of the

groundwater supply. Defendants committed each of the above-described acts and omission

knowingly, willfully, and with oppression, fraud, and/or malice. Such conduct was performed to

promote sales of AFFF/Component Products, in conscious disregard to the probable dangerous

consequences of that conduct and its reasonably foreseeable impacts on public health and welfare.

Therefore, Plaintiff requests an award of punitive damages in an amount sufficient to punish these

Defendants and that fairly reflects the aggravating circumstances alleged herein.

       251.    Defendants are jointly and severally liable for all such damages, and Plaintiff is

entitled to recover all such damages and other relief as set forth below.

                                         COUNT V:
                                     PRIVATE NUISANCE

       252.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

251 above, and further allegesthe following:

       253.    Plaintiff is the owner of land, easements, and water rights that permit it to extract

groundwater for use in its wells to provide drinking water to its customers.

       254.    Defendants’ intentional, negligent, and/or reckless conduct, as alleged herein, has

resulted in substantial contamination of Plaintiff’s supply Wells by PFOA and PFOS, human

carcinogens that cause adverse human health effects and render water undrinkable.

       255.    Defendants’    manufacture,     distribution, sale, supply, and      marketing of

AFFF/Component Products containing PFOA/PFOS was unreasonable because Defendants had

knowledge of PFOA and PFOS’s unique and dangerous chemical properties and knew that

contamination of public groundwater supply wells was substantially certain to occur, but failed to

provide adequate warnings of, or take any other precautionary measures to mitigate, those hazards.

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       256.    The contamination caused, contributed to, and/or maintained by Defendants

substantially and unreasonably interferes with Plaintiff’s property rights to appropriate, use, and

enjoy water from its wells.

       257.    Each defendant has caused, contributed to, and/or maintained such nuisance, and is

a substantial contributor to such nuisance.

       258.    As a direct and proximate result of Defendants’ acts and omissions as alleged herein,

Plaintiff has incurred, is incurring, and will continue to incur damages related to PFOA and PFOS

contamination of its wells in an amount to be proved at trial.

       259.    Defendants knew it was substantially certain that their acts and omissions described

above would cause injury and damage, including PFOA and PFOS contamination of Plaintiff’s

groundwater supply. Defendants committed each of the above-described acts and omission

knowingly, willfully, and with oppression, fraud, and/or malice. Such conduct was performed to

promote sales of AFFF/Component Products, in conscious disregard to the probable dangerous

consequences of that conduct and its reasonably foreseeable impacts on public health and welfare.

       260.    Therefore, Plaintiff requests an award of punitive damages in an amount sufficient

to punish these Defendants and that fairly reflects the aggravating circumstances alleged herein.

       261.    Defendants are jointly and severally liable for all such damages, and Plaintiff is

entitled to recover all such damages and other relief as set forth below.

                                              COUNT VI:
                                              TRESPASS

       262.    Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

261 above, and further alleges the following:

       263.    Plaintiff is the owner, operator, and actual possessor of real property and

improvements used for collecting drinking water.

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          264.   Defendants    designed,    manufactured,     distributed,   marketed,    and    sold

AFFF/Component Products with the actual knowledge and/or substantial certainty that AFFF

containing PFOS, PFOA, and/or their chemical precursors would, through normal use, release

PFAS that would migrate into groundwater, causing contamination.

          265.   Defendants negligently, recklessly, and/or intentionally designed, manufactured,

distributed, marketed, and sold AFFF/Component Products in a manner that caused PFAS to

contaminate Plaintiff's property.

          266.   As a direct and proximate result of Defendants’ trespass, Plaintiff has suffered and

continues to suffer property damage requiring investigation, remediation, and monitoring costs.

          267.   Defendants knew that it was substantially certain that their acts and omissions

described above would threaten public health and cause extensive contamination of property,

including groundwater collected for drinking. Defendants committed each of the above-described

acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

conscious and/or reckless disregard for the health and safety of others, and for Plaintiff's property

rights.

                                    COUNT VII:
        VIOLATION OF THE UNIFORM FRAUDULENT CONVEYANCE ACT
  (Against DuPont, Chemours Co., Chemours FC, Corteva and DuPont de Nemours, Inc.)

          268.   Plaintiff adopts, realleges, and incorporates the allegations in paragraphs 1 through

267 above, and further alleges the following:

          269.   Plaintiff seeks equitable and other relief pursuant to the Uniform Fraudulent

Conveyance Act (UFCA) as adopted by the State of New York, against DuPont, Chemours Co.,

Chemours FC, Corteva, and DuPont de Nemours, Inc. (collectively the “UFCA Defendants”).

C.R.S. NY CLS Dr & Cr, Art 10 §§270-281.


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       270.    The UFCA provides a “conveyance made” or “obligation incurred” is “fraudulent

as to creditors as to both present and future creditors,” and “without regard to his actual intent,”

when: (a) “the person making it is engaged or is about to engage in a business or transaction for

which the property remaining in his hands after the conveyance is an unreasonably small capital,”

NY CLS Dr & Cr §274; (b) “the person making the conveyance or entering into the obligation

intends or believes that he will incur debts beyond his ability to pay as they mature,” NY CLS Dr

& Cr §275; or (c) made or incurred “with actual intent, as distinguished from intent presumed in

law, to hinder, delay, or defraud either present or future creditors,” NY CLS Dr & Cr §276.

       271.    The UFCA Defendants (a) were engaged or were about to engage in a business for

which the remaining assets of Chemours Co. were unreasonably small in relation to the business;

(b) intended to incur, or believed or reasonably should have believed that Chemours Co. would

incur, debts beyond its ability to pay as they became due; and (c) acted with actual intent to hinder,

delay and defraud Plaintiff and other potential creditors.

       272.    UFCA Defendants engaged in acts in furtherance of a scheme to transfer the assets

of DuPont out of the reach of parties such as Plaintiff that have been damaged as a result of the

UFCA Defendants’ conduct, omissions, and actions described in this Complaint.

       273.    It is primarily DuPont, rather than Chemours Co., that for decades manufactured,

marketed, distributed and/or sold AFFF/Component Products containing PFOS, PFOA, and/or

their chemical precursors with the superior knowledge that they were toxic, mobile, persistent,

bioaccumulative, and biomagnifying, and through normal and foreseen use, would contaminate

drinking water supplies.

       274.    As a result of the transfer of assets and liabilities described in this Complaint, the

UFCA Defendants have attempted to limit the availability of assets to cover judgments for all of



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the liability for damages and injuries from the manufacturing, marketing, distribution and/or sale

of AFFF/Component Products containing PFOS, PFOA, and/or their chemical precursors.

        275.    At the time of the transfer of its Performance Chemicals Business to Chemours Co.,

DuPont had been sued, threatened with suit and/or had knowledge of the likelihood of litigation to

be filed regarding DuPont’s liability for damages and injuries from the manufacturing, marketing,

distribution and/or sale of AFFF/Component Products containing PFOS, PFOA, and/or their

chemical precursors.

        276.    The UFCA Defendants acted without receiving a reasonably equivalent value in

exchange for the transfer or obligation, and DuPont believed or reasonably should have believed

that Chemours Co. would incur debts beyond its ability to pay as they became due.

        277.    At all times relevant to this action, the claims, judgment and potential judgments

against Chemours Co. have potentially exceeded its ability to pay.

        278.    Pursuant to C.R.S. NY CLS Dr & Cr, Art 10 §§270-281, Plaintiff seeks avoidance

of the transfer of DuPont’s liabilities for the claims brought in this Complaint and to hold the

UFCA Defendants liable for any damages or other remedies that may be awarded by the Court or

jury to Plaintiff in this action.

        279.    Plaintiff further seeks all other rights and remedies that may be available to it under

UFCA, including prejudgment remedies as available under applicable law, as may be necessary to

fully compensate Plaintiff for the damages and injuries it has suffered as alleged in this Complaint.

                                            COUNT IX:
                                        PUNITIVE DAMAGES

        280.    Plaintiff adopts, realleges, and incorporates each and every allegation in the

paragraphs 1 through 279 above, and further alleges the following:




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         281.   Defendants engaged in willful, wanton, malicious, and or/reckless conduct that

caused the foregoing damage upon Plaintiff, disregarding their protected rights.

         282.   Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is not

limited to Defendants’ failure to take all reasonable measures to ensure PFAS would not be

released into the environment and inevitably contaminate VOC’s water supply system.

         283.   Defendants have caused great harm to Plaintiff, acting with implied malice and an

outrageously conscious disregard for Plaintiff's rights and safety, such that the imposition of

punitive damages is warranted.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, THE VILLAGE OF CUBA, demands judgment against

Defendants, and each of them, jointly and severally, and request the following relief from the

Court:


            a. a declaration that Defendants acted with negligence, gross negligence, and/or willful,

                wanton, and careless disregard for the health, safety of Plaintiffs;

            b. an award to Plaintiff of general, compensatory, exemplary, consequential, nominal,

                and punitive damages, including but not limited damages compensating Plaintiff for:

                        i. costs and expenses related to the past, present, and future investigation,
                           sampling, testing, and assessment of the extent of PFAS contamination
                           at Monson Water and Sewer Department;

                        ii. costs and expenses related to past, present, and future treatment and
                            remediation of PFAS contamination at Monson Water and Sewer
                            Department; and

                        iii. costs and expenses related to past, present, and future installation and
                             maintenance of filtration systems to assess and evaluate PFAS at
                             Monson Water and Sewer Department;

            c. an order for an award of attorney fees and costs, as provided by law;


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           d. pre-judgment and post-judgment interest as provided by law;

           e. any equitable or injunctive relief the Court deems just and proper;

           f. an order barring the transfer of DuPont’s liabilities for the claims brought in this

               Complaint; and

           g. all such other relief the Court deems just and proper.

                                DEMAND FOR JURY TRIAL

       Plaintiff, THE VILLAGE OF CUBA, demands a trial by jury of all issues so triable as a

matter of right.



Dated: New York, New York                         Respectfully submitted,
       July 11, 2022
                                                  NAPOLI SHKOLNIK

                                                  By: /s/ Paul J. Napoli
                                                  Paul J. Napoli, Esq.
                                                  1302 Avenida Ponce de León
                                                  Santurce, Puerto Rico 00907
                                                  Tel: (833) 271-4502
                                                  Fax: (646) 843-7603
                                                  pnapoli@nsprlaw.com

                                                  Andrew Croner, Esq.
                                                  Patrick Lanciotti, Esq.
                                                  Nicholas Mandicino
                                                  360 Lexington Avenue, 11th Fl.
                                                  New York, New York 10017
                                                  (212) 397-1000
                                                  acroner@napolilaw.com
                                                  planciotti@napolilaw.com
                                                  nmandicino@napolilaw.com

                                                  Counsel for Plaintiff Village of Cuba




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